                                                      Case 3:14-cv-02722-SI Document 28 Filed 02/19/15 Page 1 of 1



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                                           2                               IN THE UNITED STATES DISTRICT COURT
                                           3                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           5   WARREN,                                                 No. C 14-02722 SI
                                           6                  Plaintiff,                               ORDER OF            DISMISSAL            UPON
                                                                                                       SETTLEMENT
                                           7     v.
                                           8   ALEXION PHARMACEUTICALS, INC.,
                                           9                  Defendant.
                                                                                            /
                                          10
For the Northern District of California




                                          11                  The parties to the action, by their counsel, have advised the court that they have agreed
    United States District Court




                                          12   to a settlement.

                                          13           IT IS HEREBY ORDERED that this matter is DISMISSED WITH PREJUDICE. However, that

                                          14   if any party hereto certifies to this court, with proof of service of a copy thereon on opposing counsel,

                                          15   within ninety days from the date hereof, that settlement has not in fact occurred, the foregoing order

                                          16   shall be vacated and this cause shall forthwith be restored to the calendar for further proceedings.
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                                          20   Dated: 2/18/15
                                                                                                                 SUSAN ILLSTON
                                          21                                                                     United States District Judge
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